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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

JUAN C. RANGEL,                                  §
     Petitioner,                                 §
                                                 §
v.                                               §            Case No. 4:07-cv-279
                                                 §
ANGELA K. BARROWS, Director,                     §
Dallas District Office, USCIS,                   §
UNITED STATES CITIZENSHIP &                      §
IMMIGRATION SERVICES, and                        §
ALBERTO R. GONZALES, Attorney                    §
General of the United States,                    §
       Respondents.                              §

     ORDER DENYING RESPONDENTS’ MOTION FOR SUMMARY JUDGMENT AND
              GRANTING SUMMARY JUDGMENT FOR PETITIONER

        Before the court are the “Respondents’ Motion for Summary Judgment” (de # 13) and the

“Petitioner’s Response in Opposition to Respondents’ Motion for Summary Judgment” (de # 14).

Having considered the Motion and the briefing responsive thereto, the court is of the opinion that

the Respondents’ Motion should be DENIED and, sua sponte, that summary judgment should be

GRANTED in favor of the Petitioner.

                                       I. BACKGROUND

        Juan Rangel, the Petitioner in this matter, appeals a determination by United States

Citizenship and Immigration Services (USCIS) denying his application for naturalization. Rangel

is a native and citizen of Mexico, born there on June 1, 1980. (Resp’t Mot. for Summ. J. 3.) Rangel

was admitted to the United States as a lawful permanent resident on May 24, 1996, and he currently

lives in Plano, Texas. (Id.)

        On October 16, 2004, Rangel was arrested by the Allen Police Department for driving while

intoxicated (DWI). (Id. at Ex. 1.) He pled guilty to that offense and served 3 days of jail time of a
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suspended 60 day sentence, paid a $750 fine, and completed one-year of community supervision.

(Id. at 3.) Rangel successfully completed the community supervision portion of his sentence on

January 20, 2006. (Id.)

        On May 10, 2006, Rangel submitted his application for naturalization. (Id.) On August 23,

2006, Rangel took and passed the English reading and writing exams and the U.S. history/civics

exam. On August 28, 2006, the USCIS denied Rangel’s application solely on the basis of his DWI

conviction. (Id. at Ex. 3.) The USCIS stated that the conviction prevented Rangel from establishing

“good moral character” as required by statute. (Id.) Rangel appealed the decision, and was heard

by the USCIS in February of 2007. (Id. at 3.) On February 13, 2007, the USCIS issued a final

decision whereby it denied Rangel’s application because Rangel had “failed to overcome the

grounds” for the original denial. (Id. at Ex. 5.) Rangel appeals that decision to this court. Both

parties agree that Rangel has met the requirements of 8 U.S.C. § 1423(a).

                                     II. LEGAL STANDARD

        The purpose of summary judgment is to isolate and dispose of factually unsupported claims

or defenses. See Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986). Summary judgment is proper

if “the pleadings, depositions, answers to interrogatories, and admissions on file, together with the

affidavits, if any, show that there is no genuine issue as to any material fact and that the moving party

is entitled to a judgment as a matter of law.” FED . R. CIV . P. 56(c). A dispute about a material fact

is genuine “if the evidence is such that a reasonable jury could return a verdict for the nonmoving

party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The trial court must resolve all

reasonable doubts in favor of the party opposing the motion for summary judgment. Casey

Enterprises, Inc. v. American Hardware Mut. Ins. Co., 655 F.2d 598, 602 (5th Cir. 1981)(citations


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omitted). The substantive law identifies which facts are material. See id. at 248.

       The party moving for summary judgment has the burden to show that there is no genuine

issue of material fact and that it is entitled to judgment as a matter of law. See id. at 247. If the

movant bears the burden of proof on a claim or defense on which it is moving for summary

judgment, it must come forward with evidence that establishes “beyond peradventure all of the

essential elements of the claim or defense.” Fontenot v. Upjohn Co., 780 F.2d 1190, 1194 (5th Cir.

1986). But if the nonmovant bears the burden of proof, the movant may discharge its burden by

showing that there is an absence of evidence to support the nonmovant’s case. Celotex, 477 U.S.

at 323, 325; Byers v. Dallas Morning News, Inc., 209 F.3d 419, 424 (5th Cir. 2000). Once the

movant has carried its burden, the nonmovant “must set forth specific facts showing that there is a

genuine issue for trial.” FED . R. CIV . P. 56(e). The nonmovant must adduce affirmative evidence.

See Anderson, 477 U.S. at 257.

                                III. DISCUSSION & ANALYSIS

       The court has jurisdiction to consider this matter de novo. 8 U.S.C. § 1421(c) (2006). A

person who wishes to attain citizenship through naturalization bears the burden in every respect to

establish his eligibility. Berenyi v. District Director, INS, 385 U.S. 630, 637 (1967). All doubts

regarding eligibility must be resolved adversely to the applicant. Id.

       A lawfully admitted permanent resident may attain citizenship through naturalization if he

has resided continuously in the United States for the five years preceding his application, has resided

continuously in the United States between the time of his application and oath of citizenship, and

is “a person of good moral character, attached to the principles of the Constitution of the United

States, and well disposed to the good order and happiness of the United States.” 8 U.S.C. § 1427(a)


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(2006). An applicant’s moral character is to be evaluated on a case-by-case basis with regard to

certain enumerated provisions and the “standards of the average citizen in the community of

residence.” 8 C.F.R. § 316.10(a)(2) (1995). The sole issue for the court’s determination is whether

Rangel is precluded from establishing good moral character on the sole basis of his lone DWI

conviction.

       There are certain statutory bars to an applicant’s capability of demonstrating good moral

character. Section 1101 contains a non-exclusive list of circumstances that, standing alone, prevent

a demonstration of good moral character. 8 U.S.C. § 1101(f) (2006). A drunk driving conviction

is not on the list. Id. A more exhaustive list can be found in the Regulations. 8 C.F.R. 316.10(b)

(1995). In addition to a similarly structured list of offenses that bar admission, that Section provides

that, absent extenuating circumstances, a finding of good moral character is impermissible if, during

the relevant period, the applicant “[c]ommitted unlawful acts that adversely reflect upon the

applicant’s moral character.” 8 C.F.R. 316.10(b)(3)(iii) (1995). It is this catch-all provision that the

USCIS claims prevents Rangel from establishing his eligibility for naturalization.

       Courts that have been confronted with this issue have uniformly agreed that a single DWI

conviction is insufficient to preclude an applicant from establishing good moral character. In

Ragoonanan v. USCIS, the court decided in favor of a party whose application for naturalization was

denied solely on the basis of a DWI conviction. Ragoonanan v. USCIS, No. 07-3461, 2007 U.S.

Dist. LEXIS 92922 (D. Minn. Dec. 18, 2007). There, the USCIS rested, as it does here, on the

above-quoted catch-all provision in the Regulations. Id. at * 7-8. Among the court’s justifications

for granting summary judgment to the petitioner in that case was the court’s inability to find a single

case concluding that a single DWI conviction bars an applicant from establishing good moral


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character. Id. at *9.

       Another court reached a different conclusion where the naturalization applicant had been

convicted of DWI, but had also failed to disclose an arrest for making terroristic threats against his

child’s mother. Nguyen v. Monica, No. 05-3021, U.S. Dist. LEXIS 69118, at *7-8 (E.D. Pa. Sept.

26, 2006). The court stated in dictum that “a single conviction for driving under the influence would

no doubt be insufficient to derail petitioner’s naturalization application.” Id.

       Faced with a petitioner whose application was rejected on the basis of two DWI convictions,

another district court granted summary judgment in favor of the petitioner. Cajiao v. Bureau of

Citizenship & Immigration Servs. of the Dep’t of Homeland Sec., No. H-03-2582, 2004 U.S. Dist.

LEXIS 29734 (S.D. Tex. Mar.30, 2004). Though the court found one of the convictions to be

explained by extenuating circumstances, id. at *12, the other conviction was not innocently

explained, and the court concluded by noting that the petitioner “quite likely exceeds the standard

for good moral character.” Id.; See also Yaqub v. Gonzalez, No. 1:05-cv-170, 2006 U.S. Dist.

LEXIS 36727, at *12-13 (June 5, 2006) (concluding that two DWI convictions did not bar the

applicant from establishing good moral character).

       Other cases have denied the appeals of naturalization applicants who have been convicted

of DWI based on other aggravating factors. In addition to the Nguyen case cited above, a district

court denied an appeal on the combined weight of five DWI convictions, a third degree rape

conviction, and a finding that the applicant’s testimony lacked candor. Rico v. INS, 262 F. Supp. 2d

6 (E.D. N.Y. 2003); see also Le v. Elwood, No. 02-cv-3368, U.S. Dist. LEXIS 6635, at *8-9 (Mar.

24, 2003) (stating that, although 2 DWI convictions “may not disqualify [the petitioner] from being

a person of ‘good moral character,’” lack of testimonial candor in addition to the offenses does).


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       Though Rangel has requested a hearing, and though the statute entitles him to a hearing upon

request, the court finds that a hearing is unnecessary. The evidence in the record establishes that

Rangel is a person of good moral character. Rangel states in his affidavit that he accepts

responsibility for his DWI conviction and that he only has an occasional drink in his home. (Pet’s.

Resp. Ex. 1.) He has graduated from high school, is a member of a local church, and is married with

a young son. (Id.) Aside from his DWI, Rangel has never been arrested and has no other criminal

convictions on his record. (Id.) His application for naturalization shows that he has been employed

since at least 2001. (Resp’t Mot. for Summ. J. Ex. 2.)

       The court is also mindful of the unique and instructive circumstances surrounding Rangel’s

DWI conviction. Because of a foolish choice, Rangel unnecessarily placed his citizenship in severe

jeopardy. The sentence served by Rangel, deemed sufficiently penal in the eyes of the Texas

Legislature, has been essentially enhanced by the particular circumstances of this case.

       The court closes by noting that it does not in any way condone drunk driving. The court is

fully in agreement with the Rico court that “[d]runk driving is ‘an urgent, nationwide problem of

staggering proportion.’” Rico 262 F. Supp. 2d at 10 (quoting Dalton v. Ashcroft, 257 F.3d 200, 208

(2d Cir. 2001)). However, the applicable law is unanimous in support of the proposition that, in the

absence of aggravating factors, a single DWI conviction is insufficient to deny an application for

naturalization on the basis that the applicant lacks good moral character.

                                      IV. CONCLUSION

       The USCIS providing no additional evidence on which it can base a determination that

Rangel lacks good moral character, the court is of the opinion that its Motion should be, and hereby

is, DENIED. Though Rangel has not submitted a formal motion for summary judgment, he contends


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in his Response that the record is sufficient to support a judgment in his favor. The court agrees.

But rather than construe the Response as something that it is not, the court is of the opinion that

summary judgment should be granted in favor of Rangel on the court’s own motion. Celotex, 477

U.S. at 326; Love v. Nat’l Med. Enter., 239 F.3d 765, 770-71 (5th Cir. 2000). Both parties have had

more than sufficient notice, as required in this Circuit, to provide evidence on the issue of good

moral character. Therefore, the court is of the opinion that summary judgment should be, and hereby

is, GRANTED in favor of Juan C. Rangel.

       It is hereby

       ORDERED that Rangel’s Application for Naturalization is APPROVED. It is further

       ORDERED that Rangel shall be sworn in as a citizen of the United States at the next

regularly scheduled naturalization ceremony in Plano, Texas.

       IT IS SO ORDERED.

            .    SIGNED this the 25th day of September, 2008.




                                                          _______________________________
                                                          RICHARD A. SCHELL
                                                          UNITED STATES DISTRICT JUDGE




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